      Case 2:20-cv-11280-SRC-CLW Document 44 Filed 08/05/22 Page 1 of 2 PageID: 112




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                                               August 5, 2022

       VIA REGULAR MAIL
       Honorable Cathy L. Waldor
       United States Magistrate Judge
       50 Walnut St. Room 4040, Courtroom 4c
       Newark, NJ 07101

              Re:     DE LOS SANTOS v. PARK PLACE OF NEW JERSEY, LLC et. al.
                      Docket No.: 20-cv-11280 (SRC)(CLW)

       Dear Honorable Magistrate Judge Waldor:

              We represent the Defendants in the above case. A telephone conference was conducted on

       May 3, 2022. During the conference, I advised the Court that Defendants Park Place of New Jersey,

       LLC and Salvador Dip intended to file a motion to amend their answer to add third-party claims

       against co-buyer and possessor of the vehicle Yordy Hernandez Liranzo. I wish to apologize to the

       Court for my misunderstanding that resulted in my June 2, 2022 motion for leave to file an

       amended answer being administratively terminated.

              A telephone conference was scheduled on June 23, 2022 and the motion was to be

       addressed at that time. However, due to a scheduling conflict of Plaintiff’s counsel, the conference

       was adjourned to August 30, 2022.
Case 2:20-cv-11280-SRC-CLW Document 44 Filed 08/05/22 Page 2 of 2 PageID: 113




       Rather than wait to August 30 to discuss the motion to amend, I write to the Court and

       respectfully request its authority to file the motion to amend.

       I wish to thank the Court for its courtesies. Should the Court have any questions, do not

hesitate to contact me.

                                             Respectfully submitted,
                                             ABOYOUN DOBBS, LLC

                                             BY:      // Timothy J. Broking //
                                                   TIMOTHY J. BROKING, ESQ.
                                                   For the Firm


cc:    All counsel or record
